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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                   Chapter 7

EDWARD MILLINGTON,                                                       Case No. 19-45676-nhl

                                    Debtor(s).
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                                        LOSS MITIGATION ORDER

       A Loss Mitigation Request1 was filed by the debtor(s) on November 22, 2019, and there
being no opposition, upon the foregoing, it is hereby

        ORDERED, that the following parties (the “Loss Mitigation Parties”) are directed to
participate in the Loss Mitigation Program:

               1. Edward Millington, the Debtor(s); and

               2. BG Apartments LLC, the Creditor, with respect to property located at 144-64
                  Sanford Avenue, Apt 21, Flushing, NY 11355, Loan Number 2234.

        It is further ORDERED, that the Loss Mitigation Parties shall comply with the Loss
Mitigation Procedures available in the Clerk’s Office and posted on the Court’s website; and it is
further

           ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:

               1. Each Loss Mitigation Party shall designate contact persons and disclose contact
                  information by January 3, 2020 unless this information has been previously
                  provided. As part of this obligation, the Creditor shall furnish each Loss
                  Mitigation Party with written notice of the name, address, and direct
                  telephone number of the person who has full settlement authority.

               2. Each Creditor that is a Loss Mitigation Party shall contact the Debtor(s) within 14
                  days of the date of this Order.

               3. Each Loss Mitigation Party shall make its request for information and documents,
                  if any, within 14 days of the date of this Order.

               4. Each Loss Mitigation Party shall respond to a request for information and
                  documents within 14 days after a request is made, or 7 days prior to the Loss
                  Mitigation Session, whichever is earlier.

               5. The Loss Mitigation Session shall be scheduled not later than January 29, 2020.

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    All capitalized terms have the meanings defined in the Loss Mitigation Procedures.
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           6. The Loss Mitigation Period shall terminate on February 5, 2020, unless extended
              as provided in the Loss Mitigation Procedures.

         It is further ORDERED, that a status conference will be held in this case on February 5,
2020 at 11:00 a.m. before the Honorable Nancy Hershey Lord at the United States Bankruptcy
Court for the Eastern District of New York located at 271-C Cadman Plaza East, Courtroom 3577,
Brooklyn, NY 11201 (the “Status Conference”). The Loss Mitigation Parties shall appear at the
Status Conference and provide the Court with an oral Status Report unless a written Status Report
that is satisfactory to the Court has been filed not later than 7 days prior to the date of the Status
Conference and requests that the Status Conference be adjourned or cancelled; and it is further

       ORDERED, that at the Status Conference, the Court may consider a Settlement reached
by the Loss Mitigation Parties, or may adjourn the Status Conference if necessary to allow for
adequate notice of a request for approval of a Settlement; and it is further

        ORDERED, that any matters that are currently pending between the Loss Mitigation
Parties (such as motions or applications, and any objection, opposition or response thereto) are
hereby adjourned to the date of the Status Conference to the extent those matters concern: (i) relief
from the automatic stay; (ii) objection to the allowance of a proof of claim; (iii) reduction,
reclassification or avoidance of a lien; (iv) valuation of a Loan or Property; or (v) objection to
confirmation of a plan of reorganization; and it is further

        ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this case to
file an objection to a plan of reorganization in this case shall be extended until 14 days after the
termination of the Loss Mitigation Period, including any extension of the Loss Mitigation Period.




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 Dated: December 20, 2019                                            Nancy Hershey Lord
        Brooklyn, New York                                      United States Bankruptcy Judge
